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                               UNITED STATES BANKRUPTCY COURT            Page
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                                                                                                 VOLUNTARY PETITION
                             Southern  District
                                __________       of of
                                           District New   York
                                                       __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
 Houghton Mifflin Holding Company, Inc.                                                       N/A
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):
 N/A
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                               (if more than one, state all):
 XX-XXXXXXX                                                                                    N/A
 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
 222 Berkeley Street                                                                          N/A
 Boston, MA
                                                                    ZIP CODE 02116                                                                         ZIP CODEN/A
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
 Suffolk County                                                                                NA
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):
 N/A                                                                                           N/A

                                                                 ZIP CODE N/A                                                                              ZIP CODEN/A
 Location of Principal Assets of Business Debtor (if different from street address above):
 N/A                                                                                                                                                    ZIP CODE N/A
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                             Chapter 7                  Chapter 15 Petition for
        Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                      ✔      Chapter 11                 Main Proceeding
 ✔      Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                     ✔     Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                         Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                  (Check one box.)
                                                                                                                         Debts are primarily consumer ✔ Debts are
                                                                          Debtor is a tax-exempt organization            debts, defined in 11 U.S.C.        primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States            § 101(8) as “incurred by an        business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).              individual primarily for a
                                                                                                                         personal, family, or
                                                                                                                         household purpose.”
                                Filing Fee (Check one box.)                                                                  Chapter 11 Debtors
                                                                                              Check one box:
 ✔      Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                              ✔ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                              ✔ A plan is being filed with this petition.
                                                                                              ✔ Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                                                                                                             COURT USE ONLY
 ✔         Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
                                                ✔
 1-49          50-99          100-199           200-999    1,000-          5,001-         10,001-         25,001-          50,001-           Over
                                                           5,000           10,000         25,000          50,000           100,000           100,000

 Estimated Assets
 ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                                million    million         million        million         million
 Estimated Liabilities
                                                                                                                                              ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                                million    million         million        million         million
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 Voluntary Petition                                           Document              Page
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                                                                                               Debtor(s):
 (This page must be completed and filed in every case.)                               Houghton Mifflin Holding Company, Inc.
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
               N/A                                                                    N/A
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed: N/A                                                                     N/A
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:
                      See Attachment 1
 District:                                                                                      Relationship:                                    Judge:
                Southern District of New York                                                    Affiliate

                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

              ✔        There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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 Voluntary Petition                                            Document      Page
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                                                                                 21of Debtor(s):
                                                                               Name
 (This page must be completed and filed in every case.)                        Houghton Mifflin Holding Company, Inc.
                                                                        Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                 Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I         Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                      order granting recognition of the foreign main proceeding is attached.

 X                                                                                           X
      Signature of Debtor                                                                        (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
                                                                                                 Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X     /s/ Jeffrey D. Saferstein                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       Jeffrey D. Saferstein                                                                 provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Paul, Weiss, Rifkind, Wharton & Garrison LLP                                          guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
       1285 Avenue of the Americas                                                           or accepting any fee from the debtor, as required in that section. Official Form 19 is
       New York, NY 10019-60684                                                              attached.
      Address
       (212) 373-3000
      Telephone Number                                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer
       05/21/2012
      Date
                                                                                                 Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                   state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the information          partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 in the schedules is incorrect.

                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true       Address
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.
                                                                                             X
 The debtor requests the relief in accordance with the chapter of title 11, United States        Signature
 Code, specified in this petition.

 X     /s/ William F. Bayers                                                                     Date
      Signature of Authorized Individual
       William F. Bayers                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible person, or
      Printed Name of Authorized Individual                                                  partner whose Social-Security number is provided above.
       Executive Vice President & General Counsel
      Title of Authorized Individual                                                         Names and Social-Security numbers of all other individuals who prepared or assisted
       05/21/2012
                                                                                             in preparing this document unless the bankruptcy petition preparer is not an
      Date
                                                                                             individual.

                                                                                             If more than one person prepared this document, attach additional sheets conforming
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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